                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                            NO. 5:19-CR-00463-D

UNITED STATES OF AMERICA

              v.

LAEQUAN CHRISHAWN SELLERS

                   PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, pursuant to the entry of a Memorandum of Plea Agreement by the

defendant on May 20, 2020, the defendant's guilty plea to offenses in violation of 21

U.S.C. § 841(a)(l), 18 U.S.C. §§ 922(g) and 924, and 18 U.S.C. § 924(c)(l)(A)(i), and

all other evidence of record, the Court finds that the following property is hereby

forfeitable pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 924(d)(l), to wit:

          •   One (1) Taurus G2C 9mm handgun with serial number TLN45010;

          •   Any associated ammunition; and

          •   $34,803.00 in United States currency;

      AND WHEREAS, by virtue of said guilty plea, the defendant's agreement

therein, and all other evidence ofrecord, the United States is now entitled to entry of

a PreliminaryOrderofForfeiturepursuantto Fed. R. Crim. P. 32.2(b)(2); and to seize

the specific property subject to forfeiture, to conduct any discovery the Court

considers proper in identifying, locating, or disposing of the property, and t.o

commence proceedings that comply with any statutes governing third-party rights,

as provided by Fed. R. Crim. P. 32.2(b)(3);


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       It is hereby ORDERED, ADJUDGED and DECREED:

       1.      That based upon the plea of guilty by the defendant, the plea agreement,

and all other evidence of record, the United States is hereby authorized to seize the

above-stated property, and it is hereby forfeited to the United States for disposition

in accordance with the law, including destruction, subject to the provisions of 21

U.S.C. § 853(n), as allowed by Fed. R. Crim. P. 32.2(b)(3).

       2.    That upon sentencing and issuance of the Judgment and Commitment

Order, the Clerk of Court is directed to incorporate a reference to this Preliminary

Order of Forfeiture in the applicable section of the Judgment, as required by Fed. R.

Crim. P. 32.2(b)(4)(B).   In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this Order

shall be final as to the defendant upon entry.

       3.      That pursuant to 21 U.S.C. § 853(n), the United States shall publish

notice of this Order and of its intent to dispose of the property in such manner as the

Attorney General or the Secretary of Treasury directs, by publishing and sending

notice in the same manner as in civil forfeiture cases, as provided in Supplemental

Rule G(4).    Any person other than the defendant, having or claiming any legal

interest in the subject property must file a petition with the Court within 30 days of

the publication of notice or of receipt of actual notice, whichever is earlier.

      The petition must be signed by the petitioner under penalty of perjury and

shall set forth the nature and extent of the petitioner's right, title, or interest in the

subject property, and must include any additional facts supporting the petitioner's

claim and the relief sought.


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      4.      That upon adjudication of all third party interests this Court will enter

a Final Order of Forfeiture as required by Fed. R. Crim. P. 32.2(c)(2).

      SO ORDERED, this Ji_ day of       Q cfub.,QA,     , 2020.



                                        ~ _)d, o v 9-d
                                        J°AMES C. DEVER III
                                        United States District Judge




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